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                  UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS - EASTERN DIVISION

MILWAUKEE CASUALTY INSURANCE                          )
COMPANY,                                              )
                                                      )
       Plaintiff,                                     )       Case No.: 18-cv-01326
                                                      )
       v.                                             )       The Honorable Gary Feinerman
                                                      )
S & V PROPERTY, LLC,                                  )
                                                      )
       Defendant.                                     )

 NOTICE OF VOLUNTARY DISMISSAL OF THIS ACTION WITHOUT PREJUDICE

       NOW COMES Plaintiff, Milford Casualty Insurance Company f/k/a Milwaukee Casualty

Insurance Company, by and through its attorneys, and pursuant to F.R.C.P. 41(a)(1)(A)(i), herein

provides notice that it is voluntarily dismissing this action without prejudice.


                                                  /s/ Kevin M. Lougachi
                                              Kevin M. Lougachi
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